           Case 1:20-cr-00126-LTS Document 242 Filed 11/13/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 20-CR-126-LTS

MALIK HOLLOWAY,

                 Defendant.

-------------------------------------------------------x

                                              ORDER TO RESPOND

                 The Government is hereby ordered to respond in writing to Defendant’s pending

bail request (docket entry no. 241) no later than November 16, 2021.


        SO ORDERED.

Dated: New York, New York
       November 13, 2021

                                                                      _/s/ Laura Taylor Swain_____
                                                                      LAURA TAYLOR SWAIN
                                                                      Chief United States District Judge




HOLLOWAY - ORD RE BAIL APPLIC                              VERSION NOVEMBER 13, 2021                       1
